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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **
                                              *
  GHASSAN J. GHANNOUM,
  CARL R. CARSON, JR.,                        *
  JOHN A. MOLINE IV,                          *
  ALI MORALES, ON BEHALF OF                   *
  THEMSELVES AND ALL OTHERS                   *
  SIMILARLY SITUATED,                         *
                                              * No. 18-516C
                     Plaintiffs,              * Filed: September 14, 2018
             v.                               *
                                              *
  UNITED STATES,                              *
                                              *
                     Defendant.
                                              *
  * * * * * * * * * * * * * * * * ****

                                       ORDER


       The court is in receipt of the parties’ September 13, 2018 joint stipulation of
dismissal of the above-captioned case. Pursuant to Rule 41(a)(1)(A)(ii) of the Rules of
the United States Court of Federal Claims, this court ORDERS that all of plaintiffs’ claims
for “compensatory time,” and for Saturday premium pay allegedly improperly omitted from
“other paid leave,” and “holiday pay,” as set forth in paragraph 1 of the complaint are
DISMISSED, with prejudice. Likewise, all of plaintiffs’ claims encumbering non-
supervisory positions for “retroactive Saturday premium pay” allegedly owed non-
supervisory employees from January 11, 2004 to July 10, 2014, as set forth in paragraphs
2 and 8 of the complaint, are DISMISSED, with prejudice. The remainder of plaintiffs’
claims are DISMISSED without prejudice.


      IT IS SO ORDERED.

                                                     s/Marian Blank Horn
                                                     MARIAN BLANK HORN
                                                              Judge
